      Case 1:10-cv-03959-LGS-DCF Document 165 Filed 06/09/15 Page 1 of 7



UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------------X
KRISS, et al.
                                   Plaintiffs,                                 SDNY Docket Nos.:
                  v.                                                           10-cv-3959
                                                                               13-cv-3905
BAYROCK GROUP LLC, et al.,

                                   Defendants.
---------------------------------------------------------------------------X




                          Non-Party Respondent Pro Se Richard
                            E. Lerner’s Reply Memorandum




                                                            THE LAW OFFICE OF RICHARD E. LERNER, P.C.
                                                            1375 Broadway, 3rd Floor
                                                            New York, New York 10018
                                                            (917) 584-4864




June 9, 2015
      Case 1:10-cv-03959-LGS-DCF Document 165 Filed 06/09/15 Page 2 of 7



                                            Introduction
        I submit this memorandum in reply to the memoranda submitted in behalf of Felix Sater

and the Bayrock defendants in re the April 30, 2015 order of Magistrate Maas. To avoid overlap,

I adopt and incorporate by reference all argument in the reply memorandum of non-party Freder-

ick Oberlander, where appropriate as if denominated in my own behalf, and add the following, as

to which I attest that I make all factual assertions herein under penalty of perjury, per 28 U.S.C.

§ 1746, based upon, and to the best of my, personal knowledge.

        Like Mr. Oberlander, I have not been sued for misappropriation or conversion of the

Bernstein Materials, so maintain that this court would lack equity (subject matter) jurisdiction to

enter the order against me had your honor issued it, and surely lacked it when the magistrate did.

        Clearly, anyone including Bayrock (assuming it has the capacity, which it may not; see

infra); who can well plead a cause of action against me for conversion or misappropriation

(though it would be difficult, as the acquisition of the Bernstein material occurred months before

I ever heard of Mr. Oberlander and Bayrock) can if timely done sue me in a proper forum.

        Just as clearly, assuming that forum were a court of plenary jurisdiction, they could seek

money damages and equitable (injunctive) relief in the form of TRO, preliminary injunction, and

permanent injunction. If that be a New York state court, the New York State Constitution would

afford me the right to a jury trial on the legal issues, and if that be a federal court, the Seventh

Amendment would do the same. And in either case the statutes and rules of procedure would af-

ford me due process, including the right to, for example, disclosure.

        Neither Bayrock nor Sater has done so. No one knows why. But we do all now know that

they want the result, just not the process. That is, they want the remedy they’d hope to get in

such a suit without having to go through the due litigation process to get it.



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      Case 1:10-cv-03959-LGS-DCF Document 165 Filed 06/09/15 Page 3 of 7



Even as a Sanction, the Order Violates My Seventh Amendment
Jury and Fifth Amendment Due Process Rights
       So they did a remarkable thing. Piggybacking off the magistrate’s order of indeterminate

etiology (the magistrate said it had been issued without findings to support it based on the stated

legal grounds that he could issue it because “he was a federal judge”), and realizing that as they

had never sued me there was no case or controversy between them and me which properly in-

voked the powers of an Article III court to adjudicate, this is what they’ve done. They invented a

theory that they could get the same relief that they could only hope for as a plenary litigant suing

me, by calling what the magistrate ordered an inherent power sanction, and saying that’s what he

had intended to do, and that he did issue it, and that it was proper for him to have done so – not-

withstanding that neither I nor Mr. Oberlander had notice of its pendency, description of its ba-

sis, or an opportunity to be heard unless we first gave up the documents.

       The ramifications of such a concept – that someone aggrieved by a prelitigation tort can,

instead of suing to get substantive relief from an Article III court and having to deal with due

process and rights to a jury trial, can get the exact same relief by calling it a sanction and asking

for it summarily under the inherent equity authority of the court – are staggering:

       Someone sues you for colliding with their car? Don’t counterclaim; move for sanctions,

argue that they wrongfully trespassed against your chattel so should pay damages as a sanction.

Someone libels you? Don’t sue, move for sanctions for their wrongful prelitigation defamation

and ask the court to order them not to do it again, because, after all, it’s not an injunction (and a

prior restraint at that) but it’s a sanction, kind of a rocket docket way of evading the due process

of an actual law suit.

       I respectfully submit that the magistrate never said any such thing, never said this was a

sanction, so cannot be charged with coming up with this bizarreness. The idea that the order was


                                                                                                        2
       Case 1:10-cv-03959-LGS-DCF Document 165 Filed 06/09/15 Page 4 of 7



a sanction, and perfectly valid, though it duplicated exactly what defendants should only be able

to get after actual plenary litigation, lies entirely in their own perfervid thoughts.

Even as a Sanction, the Order Violates My First Amendment
Speech and Petition and Fifth Amendment Property Deprivation Rights
         The order – and I respectfully ask the court to remember that it includes among its prohi-

bitions the retention and use of my own, and Mr. Oberlander’s own, work product as to docu-

ments in the public domain – is a prior restraint and a deprivation of expressive property, and the

content of the expression restrained and confiscated is the utmost core, protected speech. I have

briefed, and before that noted in my emergency request for stay May 1, 2015, the procedural and

substantive issues implicated by the prior restraint nature of the order. However, I update that ar-

gument to include a new development which further demonstrates that the enjoined speech is of

paramount public concern.

         Defendant Sater himself admits that his case has been something of a cause célèbre, in

the press and before Congress; indeed he complains of it in his opposition papers. That alone

shows the public concern, but of note is a recent EDNY opinion by Judge Gleeson in which his

honor admits that, at the request of then United States Attorney, now Attorney General Loretta

Lynch, he facilitated the continued work as a federal return preparer of a felon he had secretly

convicted of tax crime by, inter alia, ordering that he could hide his conviction from his employ-

ers. 1 In other words, the public now knows there is a secret case in the EDNY wherein the DOJ

asked for and received court leave to allowed a convicted tax preparer to continue to prepare

taxes while defrauding clients by concealing the material fact of his conviction, just as in the


1
  See Jane Doe v. USA 14-MC-1412 (EDNY) (JG), decision and order of May 21, 2015:“Yet last year the IRS recer-
tified a tax preparer despite its knowledge of his recent felony conviction in my courtroom for preparing a fraudulent
tax return for a major drug trafficker. In that case, the United States Attorney urged me to allow the defendant to
continue to work as a tax preparer without any notice to his clients of his recent conviction for being a fraudulent tax
preparer. The government’s assertion in this case that the public interest requires home health care agencies to know
about Doe’s minor criminal conduct in 1997 thus rings somewhat hollow.”

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       Case 1:10-cv-03959-LGS-DCF Document 165 Filed 06/09/15 Page 5 of 7



case at bar Felix Sater was allowed to continue at Bayrock while defrauding banks of over a bil-

lion dollars.

            The Bernstein materials, of course, not to mention my and Mr. Oberlander’s derivatives

thereof, document Sater’s crimes at Bayrock. As such, and given not only Congressional interest

in Mr. Sater 2 but also the widespread coverage of Judge Gleeson’s Doe decision in which he

held that district courts have the inherent authority to destroy (expunge) court records of convic-

tions, make them even more a topic of public concern.

            Effectively equal, though of different constitutional basis, is that not only would my

speech be restricted by the order, as well as my right to petition in my own behalf and that of my

clients, 3 in any forum, in state court or in Israel or anywhere else, but so would my property

rights. 4


2
  The court is asked to take judicial notice of the May 1, 2015 testimony before the House Judiciary Committee,
Subcommittee on the Constitution of former Federal Judge Paul Cassell, who was asked by the subcommittee about
the Felix Sater case. \Thus, the more fundamental First Amendment right of petition is also implicated, because the
documents at issue are germane to my right to petition the government for redress of grievances, and to provide in-
formation to Congress that I believe (upon the authority of Justice Scalia)2 deem relevant to a Congressional inquiry
http://judiciary.house.gov/index.cfm/hearings?ID=B855D611-BAC2-4F83-9D95-29A2873851D9. Questioning re-
garding the Sater case begins at about the 31/32 minute mark. Judge Cassell’s written testimony can be found here:
http://judiciary.house.gov/_cache/files/678b1baa-2d63-4a18-9651-832780ff38f0/05012015-cassell-testimony.pdf.
His testimony about the Sater case begins at PDF page 60.
The court’s attention is most respectfully referred to footnote 431, wherein Judge Cassell acknowledges that but for
the courageous work of two attorneys – Oberlander and Lerner – the information regarding the courts’ and the Jus-
tice Department’s blatant violations of the CVRA and MVRA would not have come to light.
3
  In Burough of Duryea v. Guarnieri, 564 U.S. ____ (2011), Justice Scalia (concurring in judgment and partially
dissenting) opined that freedom of petition is more fundamental than freedom of speech. This is germane not merely
because of Judiciary Committee’s interest in the Felix Sater case, and not merely because of any private bill I have a
right to present to Congress, but also because, as noted I am counsel of record in a New York State Supreme Court
proceeding initiated by Salvatore Lauria against Plaintiff Kriss concerning the very Bernstein Materials themselves.
4
  As noted in my original papers, my possessory right in the Bernstein Materials, even if challenged, let alone my
ownership right, to property cannot be interfered with, even for a minute, without Fifth Amendment due process, as
it is a constitutionally protected interest, and as the process due depends on the property at stake, with expressive
property implicating the same speech and petition rights as would its content alone, that must be at the least cotermi-
nous with the due process requirements of a prior restraint. The Supreme Court has held that where seizures or other
deprivations of chattel which is expressive (books, scripts, documents) is so intimately interwoven with the First
Amendment that full adversarial due process resulting in ultimate, not preliminary, constitutional adjudication must
occur before any deprivation however temporary. Fort Wayne Books v. Indiana, 489 U.S. 46 (1989).

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        Case 1:10-cv-03959-LGS-DCF Document 165 Filed 06/09/15 Page 6 of 7



                                            Other Points
         The Order fails as an injunction for all the reasons stated by Mr. Oberlander plus the fail-

ure to require the posting of a bond and also for failure to give me notice that such might occur,

and of the legal basis for it – whether inherent authority, or §1927, or Rule 11 – and given an op-

portunity to be heard. I was not given such. Indeed, the calendar notice prior to the hearing be-

fore the magistrate said nothing of the sort. Rather, the notice (DE139) says only “Procedural

and scheduling issues for both matters will be addressed at the [April 14, 2015] conference.”

         Sater’s papers should be deemed stricken. The court will recall that Mr. Sater already

agreed, by letter to the court dated April 18, 2013 (never docketed), that the FAC could be pub-

licly filed, and acknowledged that issues concerning the so-called “Bernstein documents” were

for Bayrock to address. “[W]e respectfully request that the Court grant Bayrock the opportunity

to review the Amended Complaint to allow Bayrock to challenge Oberlander and Lerner’s use of

illegally obtained, privileged information.” (The letter does not appear on the docket). Because

the court did grant that relief to Bayrock, there is a judicial estoppel, and Sater should not now be

heard to object to the public dissemination of what two years ago he said was fine with him.

         If the Order is a Sanction, It Was Penal. In the Mackler cases, Mackler Productions, Inc.

v. Cohen, 146 F. 3d 126 (2d Cir. 1998), and 225 F. 3d 136 (2d Cir. 2000), the Second Circuit

held that the same considerations that may classify a supposed civil contempt remedy as penal

instead of civil apply to sanctions remedies, and a few thousand dollars of non-compensatory

sanction award may taint the entire proceeding as criminal and void for lack of criminal due pro-

cess.

         In this case, the confiscation, even temporary, of my intellectual work product is the con-

fiscation of extremely valuable property worth far more than a few thousand dollars and so must

be no less penal than in Mackler.

                                                                                                     5
      Case 1:10-cv-03959-LGS-DCF Document 165 Filed 06/09/15 Page 7 of 7



                                             In Closing
       As I have only 8 pages, I am unable to respond to the misstatements of fact in defendants’

opposition papers. It takes far more to disprove than it does to just make a statement – or a lie.

Most importantly, I have never been ordered by any court (other than by the magistrate) to return

documents. Nor did Judge Glasser find any of the documents to have been “stolen.”

       If this court does not set aside the order or require plenary suit against me (if there is ju-

risdiction), without waiving jurisdiction (and subject matter jurisdiction is not waivable to begin

with), I ask discovery and evidentiary hearing, with the burden on proponents of the injunction,

rather than upon me (the magistrate clearly erred in placing the burden of proof on me to estab-

lish my rights to our documents and intellectual property and even disputed property). And I ask

the opportunity to challenge the capacity of Mr. Saurack to appear here in Bayrock’s behalf. In

the case of a limited liability company, the capacity to appear is governed by state law, FRCP 17.

As noted in papers, including an affidavit of Kriss, in various motions and oppositions and re-

plies, none docketed by Judge Maas, on information and belief Bayrock is no longer, and has not

been for years, capable of being operated in conformity with its operating agreement and so can

neither hire counsel nor conduct litigation. Were I representing plaintiffs, this objection would be

timely made in a responsive pleading to any answer or counterclaim. If this court, despite all that

Mr. Oberlander and I have argued, allows any of this process to continue against us, I must be

afforded the right to then refute the capacity of Bayrock to ask for any relief against me.

       The magistrate’s order is ultra vires, thus void. Even if it were not, it is unconstitutional

and thus invalid, transparently so. I join with Mr. Oberlander in requesting that it be “set aside.”


Dated: New York, New York
       June 9, 2015                                            _________________________

                                                               Richard E. Lerner

                                                                                                        6
